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              EXHIBIT A
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November 24, 2020



                                           DECLARATION

            I, Margaret Yoh, a representative of biBERK Direct Insurance
Company, an affiliate of National Liability & Fire Insurance Company, a
corporation organized and existing under the laws of the state of Nebraska, do
hereby certify that the attached insurance policy was produced from records
retained in our computer data files. The amendments, endorsements, and policy
contract are standard forms with information particular to this policy. Attached
is a complete copy of policy contract number N9WC095712 issued to Krucial
Staffing LLC.



        MYOH , 16:31:47, 24/11/2020
_____________________________

              (Name)




                                      P.O. Box 113247 ● Stamford, CT 06911-3247
                                            844-549-2512 ● www.nlf-info.com
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                           WC 00 00 00 C

                                                                                                                              (Ed. 1-15)

                    WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

In return for the payment of the premium and subject to                                            PART ONE
all terms of this policy, we agree with you as follows:                                  WORKERS COMPENSATION INSURANCE

                                                                                A. How This Insurance Applies
                     GENERAL SECTION                                               This workers compensation insurance applies to
                                                                                   bodily injury by accident or bodily injury by disease.
 A. The Policy                                                                     Bodily injury includes resulting death.
    This policy includes at its effective date the Infor-                          1. Bodily injury by accident must occur during the
    mation Page and all endorsements and schedules                                     policy period.
    listed there. It is a contract of insurance between                            2. Bodily injury by disease must be caused or ag-
    you (the employer named in Item 1 of the Infor-                                    gravated by the conditions of your employment.
    mation Page) and us (the insurer named on the In-                                  The employee’s last day of last exposure to the
    formation Page). The only agreements relating to                                   conditions causing or aggravating such bodily in-
    this insurance are stated in this policy. The terms of                             jury by disease must occur during the policy
    this policy may not be changed or waived except                                    period.
    by endorsement issued by us to be part of this
    policy.
                                                                               B. We Will Pay
 B. Who is Insured                                                                We will pay promptly when due the benefits required
                                                                                  of you by the workers compensation law.
    You are insured if you are an employer named in
    Item 1 of the Information Page. If that employer is a
    partnership, and if you are one of its partners, you                       C. We Will Defend
    are insured, but only in your capacity as an em-                              We have the right and duty to defend at our expense
    ployer of the partnership’s employees.                                        any claim, proceeding or suit against you for benefits
                                                                                  payable by this insurance. We have the right to in-
                                                                                  vestigate and settle these claims, proceedings or
 C. Workers Compensation Law                                                      suits.
    Workers Compensation Law means the workers or                                 We have no duty to defend a claim, proceeding or
    workmen’s compensation law and occupational                                   suit that is not covered by this insurance.
    disease law of each state or territory named in Item
    3.A. of the Information Page. It includes any
    amendments to that law which are in effect during                          D. We Will Also Pay
    the policy period. It does not include any federal                            We will also pay these costs, in addition to other
    workers or workmen’s compensation law, any fed-                               amounts payable under this insurance, as part of
    eral occupational disease law or the provisions of                            any claim, proceeding or suit we defend:
    any law that provide nonoccupational disability                               1. reasonable expenses incurred at our request,
    benefits.                                                                         but not loss of earnings;
                                                                                  2. premiums for bonds to release attachments and
 D. State                                                                             for appeal bonds in bond amounts up to the
    State means any state of the United States of                                     amount payable under this insurance;
    America, and the District of Columbia.                                        3. litigation costs taxed against you;
                                                                                  4. interest on a judgment as required by law until
 E. Locations                                                                         we offer the amount due under this insurance;
    This policy covers all of your workplaces listed in                               and
    Items 1 or 4 of the Information Page; and it covers                           5. expenses we incur.
    all other workplaces in Item 3.A. states unless you
    have other insurance or are self-insured for such                          E. Other Insurance
    workplaces.
                                                                                  We will not pay more than our share of benefits and
                                                                                  costs covered by this insurance and other




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     insurance or self-insurance. Subject to any limits of                               workers compensation law that apply to:
     liability that may apply, all shares will be equal until                            a. benefits payable by this insurance;
     the loss is paid. If any insurance or self-insurance
     is exhausted, the shares of all remaining insurance                                 b. special taxes, payments into security or oth-
                                                                                             er special funds, and assessments payable
     will be equal until the loss is paid.
                                                                                             by us under that law.
                                                                                    6. Terms of this insurance that conflict with the
F. Payments You Must Make                                                                workers compensation law are changed by this
   You are responsible for any payments in excess of                                     statement to conform to that law.
   the benefits regularly provided by the workers                                   Nothing in these paragraphs relieves you of your du-
   compensation law including those required                                        ties under this policy.
   because:
   1. of your serious and willful misconduct;
   2. you knowingly employ an employee in violation                                               PART TWO
       of law;                                                                           EMPLOYERS LIABILITY INSURANCE
   3. you fail to comply with a health or safety law or
       regulation; or                                                          A. How This Insurance Applies
   4. you discharge, coerce or otherwise discriminate                             This employers liability insurance applies to bodily
       against any employee in violation of the workers                           injury by accident or bodily injury by disease. Bodily
       compensation law.                                                          injury includes resulting death.
   If we make any payments in excess of the benefits                              1. The bodily injury must arise out of and in the
   regularly provided by the workers compensation                                      course of the injured employee’s employment by
   law on your behalf, you will reimburse us promptly.                                 you.
                                                                                  2. The employment must be necessary or inci-
                                                                                       dental to your work in a state or territory listed in
G. Recovery From Others                                                                Item 3.A. of the Information Page.
   We have your rights, and the rights of persons enti-
                                                                                  3. Bodily injury by accident must occur during the
   tled to the benefits of this insurance, to recover our
                                                                                       policy period.
   payments from anyone liable for the injury. You will
   do everything necessary to protect those rights for                            4. Bodily injury by disease must be caused or ag-
   us and to help us enforce them.                                                     gravated by the conditions of your employment.
                                                                                       The employee’s last day of last exposure to the
                                                                                       conditions causing or aggravating such bodily in-
H. Statutory Provisions                                                                jury by disease must occur during the policy
   These statements apply where they are required by                                   period.
   law.                                                                           5. If you are sued, the original suit and any related
   1. As between an injured worker and us, we have                                     legal actions for damages for bodily injury by ac-
        notice of the injury when you have notice.                                     cident or by disease must be brought in the
   2. Your default or the bankruptcy or insolvency of                                  United States of America, its territories or pos-
        you or your estate will not relieve us of our du-                              sessions, or Canada.
        ties under this insurance after an injury occurs.
   3. We are directly and primarily liable to any per-                         B. We Will Pay
        son entitled to the benefits payable by this in-                          We will pay all sums that you legally must pay as
        surance. Those persons may enforce our duties;                            damages because of bodily injury to your employ-
        so may an agency authorized by law. Enforce-                              ees, provided the bodily injury is covered by this
        ment may be against us or against you and us.                             Employers Liability Insurance.
   4. Jurisdiction over you is jurisdiction over us for                           The damages we will pay, where recovery is permit-
        purposes of the workers compensation law. We                              ted by law, include damages:
        are bound by decisions against you under that
                                                                                  1. For which you are liable to a third party by rea-
        law, subject to the provisions of this policy that
                                                                                      son of a claim or suit against you by that third
        are not in conflict with that law.                                            party to recover the damages claimed against
   5. This insurance conforms to the parts of the




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        such third party as a result of injury to your                              9. Bodily injury to any person in work subject to the
        employee;                                                                       Federal Employers’ Liability Act (45 U.S.C. Sec-
     2. For care and loss of services; and                                              tions 51 et seq.), any other federal laws obligat-
                                                                                        ing an employer to pay damages to an employ-
     3. For consequential bodily injury to a spouse,
                                                                                        ee due to bodily injury arising out of or in the
        child, parent, brother or sister of the injured em-
                                                                                        course of employment, or any amendments to
        ployee; provided that these damages are the di-                                 those laws;
        rect consequence of bodily injury that arises out
        of and in the course of the injured employee’s                              10. Bodily injury to a master or member of the crew
        employment by you; and                                                          of any vessel, and does not cover punitive
                                                                                        damages related to your duty or obligation to
     4. Because of bodily injury to your employee that
                                                                                        provide transportation, wages, maintenance,
        arises out of and in the course of employment,                                  and cure under any applicable maritime law;
        claimed against you in a capacity other than as
                                                                                    11. Fines or penalties imposed for violation of fed-
        employer.
                                                                                        eral or state law; and
C. Exclusions                                                                       12. Damages payable under the Migrant and Sea-
                                                                                        sonal Agricultural Worker Protection Act (29
   This insurance does not cover:
                                                                                        U.S.C. Sections 1801 et seq.) and under any
   1. Liability assumed under a contract. This exclu-                                   other federal law awarding damages for viola-
      sion does not apply to a warranty that your work                                  tion of those laws or regulations issued there-
      will be done in a workmanlike manner;                                             under, and any amendments to those laws.
   2. Punitive or exemplary damages because of bodi-
      ly injury to an employee employed in violation of                        D. We Will Defend
      law;
                                                                                  We have the right and duty to defend, at our ex-
   3. Bodily injury to an employee while employed in                              pense, any claim, proceeding or suit against you for
      violation of law with your actual knowledge or the                          damages payable by this insurance. We have the
      actual knowledge of any of your executive
                                                                                  right to investigate and settle these claims, proceed-
      officers;
                                                                                  ings and suits.
   4. Any obligation imposed by a workers compensa-
                                                                                  We have no duty to defend a claim, proceeding or
      tion, occupational disease, unemployment com-
                                                                                  suit that is not covered by this insurance. We have
      pensation, or disability benefits law, or any simi-
                                                                                  no duty to defend or continue defending after we
      lar law;
                                                                                  have paid our applicable limit of liability under this
   5. Bodily injury intentionally caused or aggravated                            insurance.
      by you;
   6. Bodily injury occurring outside the United States
                                                                               E. We Will Also Pay
      of America, its territories or possessions, and
      Canada. This exclusion does not apply to bodily                             We will also pay these costs, in addition to other
      injury to a citizen or resident of the United States                        amounts payable under this insurance, as part of
      of America or Canada who is temporarily outside                             any claim, proceeding, or suit we defend:
      these countries;                                                            1. Reasonable expenses incurred at our request,
   7. Damages arising out of coercion, criticism, de-                                 but not loss of earnings;
      motion, evaluation, reassignment, discipline,                               2. Premiums for bonds to release attachments and
      defamation, harassment, humiliation, discrimina-                                for appeal bonds in bond amounts up to the limit
      tion against or termination of any employee, or                                 of our liability under this insurance;
      any personnel practices, policies, acts or                                  3. Litigation costs taxed against you;
      omissions;
                                                                                  4. Interest on a judgment as required by law until
   8. Bodily injury to any person in work subject to the                              we offer the amount due under this insurance;
      Longshore and Harbor Workers’ Compensation                                      and
      Act (33 U.S.C. Sections 901 et seq.), the Nonap-
      propriated Fund Instrumentalities Act (5 U.S.C.                             5. Expenses we incur.
      Sections 8171 et seq.), the Outer Continental
      Shelf Lands Act (43 U.S.C. Sections 1331 et
      seq.), the Defense Base Act (42 U.S.C. Sections
      1651–1654), the Federal Mine Safety and Health
      Act (30 U.S.C. Sections 801 et seq. and 901–
      944), any other federal workers or workmen’s
      compensation law or other federal occupational
      disease law, or any amendments to these laws;


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F. Other Insurance
   We will not pay more than our share of damages                                   2. The amount you owe has been determined with
   and costs covered by this insurance and other in-                                    our consent or by actual trial and final judgment.
   surance or self-insurance. Subject to any limits of li-                          This insurance does not give anyone the right to add
   ability that apply, all shares will be equal until the                           us as a defendant in an action against you to deter-
   loss is paid. If any insurance or self-insurance is ex-                          mine your liability. The bankruptcy or insolvency of
   hausted, the shares of all remaining insurance and                               you or your estate will not relieve us of our obliga-
   self-insurance will be equal until the loss is paid.                             tions under this Part.

G. Limits of Liability                                                                              PART THREE
   Our liability to pay for damages is limited. Our limits                                    OTHER STATES INSURANCE
   of liability are shown in Item 3.B. of the Information
   Page. They apply as explained below.                                        A. How This Insurance Applies
   1. Bodily Injury by Accident. The limit shown for                              1. This other states insurance applies only if one or
        “bodily injury by accident—each accident” is the                             more states are shown in Item 3.C. of the Infor-
        most we will pay for all damages covered by this                             mation Page.
        insurance because of bodily injury to one or
                                                                                  2. If you begin work in any one of those states after
        more employees in any one accident.                                          the effective date of this policy and are not in-
        A disease is not bodily injury by accident unless                            sured or are not self-insured for such work, all
        it results directly from bodily injury by accident.                          provisions of the policy will apply as though that
   2. Bodily Injury by Disease. The limit shown for                                  state were listed in Item 3.A. of the Information
        “bodily injury by disease—policy limit” is the                               Page.
        most we will pay for all damages covered by this                          3. We will reimburse you for the benefits required
        insurance and arising out of bodily injury by dis-                           by the workers compensation law of that state if
        ease, regardless of the number of employees                                  we are not permitted to pay the benefits directly
        who sustain bodily injury by disease. The limit                              to persons entitled to them.
        shown for “bodily injury by disease—each em-                              4. If you have work on the effective date of this pol-
        ployee” is the most we will pay for all damages                              icy in any state not listed in Item 3.A. of the In-
        because of bodily injury by disease to any one                               formation Page, coverage will not be afforded for
        employee.                                                                    that state unless we are notified within thirty
        Bodily injury by disease does not include dis-                               days.
        ease that results directly from a bodily injury by
        accident.                                                              B. Notice
   3. We will not pay any claims for damages after we                             Tell us at once if you begin work in any state listed in
        have paid the applicable limit of our liability un-                       Item 3.C. of the Information Page.
        der this insurance.
                                                                                                    PART FOUR
H. Recovery From Others
                                                                                           YOUR DUTIES IF INJURY OCCURS
   We have your rights to recover our payment from
   anyone liable for an injury covered by this insurance.                           Tell us at once if injury occurs that may be covered
   You will do everything necessary to protect those                                by this policy. Your other duties are listed here.
   rights for us and to help us enforce them.
                                                                                    1. Provide for immediate medical and other ser-
                                                                                         vices required by the workers compensation law.
I.   Actions Against Us
                                                                                    2. Give us or our agent the names and addresses
     There will be no right of action against us under this                              of the injured persons and of witnesses, and
     insurance unless:                                                                   other information we may need.
     1. You have complied with all the terms of this poli-                          3. Promptly give us all notices, demands and legal
         cy; and




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        papers related to the injury, claim, proceeding                        D. Premium Payments
        or suit.                                                                  You will pay all premium when due. You will pay the
     4. Cooperate with us and assist us, as we may re-                            premium even if part or all of a workers compensa-
        quest, in the investigation, settlement or defense                        tion law is not valid.
        of any claim, proceeding or suit.
     5. Do nothing after an injury occurs that would in-                       E. Final Premium
        terfere with our right to recover from others.                            The premium shown on the Information Page,
     6. Do not voluntarily make payments, assume obli-                            schedules, and endorsements is an estimate. The
        gations or incur expenses, except at your own                             final premium will be determined after this policy
        cost.                                                                     ends by using the actual, not the estimated, premi-
                                                                                  um basis and the proper classifications and rates
                                                                                  that lawfully apply to the business and work covered
                 PART FIVE—PREMIUM                                                by this policy. If the final premium is more than the
A. Our Manuals                                                                    premium you paid to us, you must pay us the bal-
   All premium for this policy will be determined by our                          ance. If it is less, we will refund the balance to you.
   manuals of rules, rates, rating plans and classifica-                          The final premium will not be less than the highest
   tions. We may change our manuals and apply the                                 minimum premium for the classifications covered by
   changes to this policy if authorized by law or a gov-                          this policy.
   ernmental agency regulating this insurance.                                    If this policy is canceled, final premium will be de-
                                                                                  termined in the following way unless our manuals
B. Classifications                                                                provide otherwise:
   Item 4 of the Information Page shows the rate and                              1. If we cancel, final premium will be calculated pro
   premium basis for certain business or work classifi-                                 rata based on the time this policy was in force.
   cations. These classifications were assigned based                                   Final premium will not be less than the pro rata
   on an estimate of the exposures you would have                                       share of the minimum premium.
   during the policy period. If your actual exposures are                         2. If you cancel, final premium will be more than
   not properly described by those classifications, we                                  pro rata; it will be based on the time this policy
   will assign proper classifications, rates and premium                                was in force, and increased by our short-rate
   basis by endorsement to this policy.                                                 cancelation table and procedure. Final premium
                                                                                        will not be less than the minimum premium.
C. Remuneration
   Premium for each work classification is determined                          F. Records
   by multiplying a rate times a premium basis. Remu-                             You will keep records of information needed to com-
   neration is the most common premium basis. This                                pute premium. You will provide us with copies of
   premium basis includes payroll and all other remu-                             those records when we ask for them.
   neration paid or payable during the policy period for
   the services of:                                                            G. Audit
   1. all your officers and employees engaged in work
                                                                                  You will let us examine and audit all your records
       covered by this policy; and
                                                                                  that relate to this policy. These records include ledg-
   2. all other persons engaged in work that could                                ers, journals, registers, vouchers, contracts, tax re-
       make us liable under Part One (Workers Com-                                ports, payroll and disbursement records, and pro-
       pensation Insurance) of this policy. If you do not                         grams for storing and retrieving data. We may con-
       have payroll records for these persons, the con-                           duct the audits during regular business hours during
       tract price for their services and materials may                           the policy period and within three years after the pol-
       be used as the premium basis. This paragraph 2                             icy period ends. Information developed by audit will
       will not apply if you give us proof that the em-                           be used to determine final premium. Insurance rate
       ployers of these persons lawfully secured their                            service organizations have the same rights we have
       workers compensation obligations.                                          under this provision.




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                                                                                    If you die and we receive notice within thirty days af-
               PART SIX—CONDITIONS                                                  ter your death, we will cover your legal representa-
                                                                                    tive as insured.
A. Inspection
   We have the right, but are not obliged to inspect
                                                                               D. Cancelation
   your workplaces at any time. Our inspections are not
   safety inspections. They relate only to the insurabil-                         1. You may cancel this policy. You must mail or de-
   ity of the workplaces and the premiums to be                                      liver advance written notice to us stating when
   charged. We may give you reports on the conditions                                the cancelation is to take effect.
   we find. We may also recommend changes. While                                  2. We may cancel this policy. We must mail or de-
   they may help reduce losses, we do not undertake                                  liver to you not less than ten days advance writ-
   to perform the duty of any person to provide for the                              ten notice stating when the cancelation is to take
   health or safety of your employees or the public. We                              effect. Mailing that notice to you at your mailing
   do not warrant that your workplaces are safe or                                   address shown in Item 1 of the Information Page
   healthful or that they comply with laws, regulations,                             will be sufficient to prove notice.
   codes or standards. Insurance rate service organiza-                           3. The policy period will end on the day and hour
   tions have the same rights we have under this                                     stated in the cancelation notice.
   provision.
                                                                                  4. Any of these provisions that conflict with a law
                                                                                     that controls the cancelation of the insurance in
B. Long Term Policy                                                                  this policy is changed by this statement to com-
   If the policy period is longer than one year and six-                             ply with the law.
   teen days, all provisions of this policy will apply as
   though a new policy were issued on each annual                              E. Sole Representative
   anniversary that this policy is in force.
                                                                                  The insured first named in Item 1 of the Information
                                                                                  Page will act on behalf of all insureds to change this
C. Transfer of Your Rights and Duties                                             policy, receive return premium, and give or receive
   Your rights or duties under this policy may not be                             notice of cancelation.
   transferred without our written consent.




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